<~.Ao 440 (Rev. a/ol) summons in a civil Ac¢ion '. ° "

' Case’1:04-cv-10559-N|\/|G
UNITED STATES DISTRICT CoURT

District of Massachusetts

 

Russell F. Sheehan

SUMMONS IN A GIVIL CASE

.\Ietversant-New England, Inc.,, et. al. CASENUMBER¢

04-10§§9 NG

TOI (Name and address of Defendant)

Partners HealthCare System, Inc.
800 Boylston Street, Suite 1150
Boston, MA 02199

YOU ARE HEREBY SUMMONED and required to serve on P'LAINTIFF’S ATTORNEY (name and address)

David W. Healey, Esquire
David W. Healey & Associates
77 Franklin Street, Suite 805
Boston, MA 02110

an answer to the complaint which is served on you with this summons, Within Twenty § 2 0 ) days after service
of this summons on you, exclusive of the day of serviee. If you fail to do so, judgment by default will be taken against you
for the relief demanded in the complaint Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court Within a reasonable period of time after serviee.

 

 

 

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Filed 05/28/2004 .

   
 

,1 o$dffolk County Sheriff's Department ° 45 Bromfie|d Street ° Boston, MA 02108 ° (617) 989-6999
Suffo/k, ss.

May 17, 2004

I hereby certify and return that on 4/26/2004 at 9:30:00 AM I served a true and_
attested copy of the Summons and Amended Complaint in this action in the foilowlng
manner: To wit, by delivering in hand to M.McMahon,Attorney, agent, person in
charge at the time of service for Partners Healthcare System, Inc., at , 50 ‘
Staniford Street, Suite 1150 Boston, MA. U.S. District Court Fee ($5.00), Baslc
Service Fee (IH) ($30.00), Travel ($1.00), Postage and Handling ($1.00),

Attest/Copies ($5.00) Total Charges $42.00 %_/4// j/
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' Sher'ff
Deputv Sheriff Edward J. Tobin W”ty '

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